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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    SAVANNAH DIVISION


 IN RE:                                         ) CHAPTER 7
                                                )
 BRENDA L MCMILLIN,                             ) CASE NO. 19-41314-EJC
                                                )
          Debtor.                               )
                                                )
                                                )
 SPECIALIZED LOAN SERVICING                     ) JUDGE: EDWARD J. COLEMAN III
 LLC,                                           )
                                                )
          Movant.                               )
                                                )
 vs.                                            )
                                                )
 BRENDA L MCMILLIN,                             )
 WENDY A. OWENS, Trustee

          Respondents.


                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          COMES NOW Movant and shows this Court the following:

                                                   1.

          This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

 automatic stay for all purposes allowed by law and the contract between the parties, including,

 but not limited to, the right to foreclose on certain real property.

                                                   2.

          Movant is the servicer of a loan secured by certain real property in which Debtor claims

 an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real

 property is security for a promissory note, and is commonly known as 190 Coffee Pointe Drive,

 Savannah, Georgia 31419 (the “Property”).
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                                                 3.

        Specialized Loan Servicing, LLC services the loan on the Property referenced in this

 Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the

 Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property,

 the foreclosure will be conducted in the name of Movant or Movant’s successor or assignee.

 Movant, directly or through an agent, has possession of the Note. The Note is either made

 payable to Movant or has been duly endorsed. Movant is the original mortgagee or beneficiary

 or the assignee of the Mortgage/Deed of Trust/Security Deed. A copy of the Security Deed is

 attached hereto as Exhibit A.

                                                 4.

        Debtor's Statement of Intention provides for the surrender of the Real Property. In

 addition, Debtor is in default of the monthly installments pursuant to the terms of the Loan

 Modification Agreement. As of October 9, 2019, Debtor is delinquent for six (6) payments of

 $2,024.65 each (May 2019 through October 2019) for a total of $12,147.90, pursuant to the

 terms of the Loan Modification Agreement.

                                                 5.

        The unpaid principal balance as of October 09, 2019 is $302,234.33, and interest is due

 thereon in accordance with the Loan Modification Agreement.




                                                 6.

        Because of Debtor's default and clear inability to make all required payments, Movant is

 not adequately protected and shows that there is cause for relief from the automatic stay.
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                                                   7.

        Because the Security Deed so provides, Movant is entitled to its attorney’s fees.

                                                   8.

        Movant requests it be permitted to contact the Debtor via telephone or written

 correspondence regarding potential loss mitigation options pursuant to applicable non-

 bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

 other potential loan workouts or loss mitigation agreements.

        WHEREFORE, Movant prays (1) for an Order lifting the automatic stay, authorizing

 Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

 to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

 attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone

 or written correspondence regarding potential loss mitigation options pursuant to applicable non-

 bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

 other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

 4001 (a)(3); and (5) for such other and further relief as is just and equitable.

                                      /s/ Ciro A Mestres
                                      Ciro A Mestres Georgia BAR NO. 840253
                                      Attorney for Movant
                                      McCalla Raymer Leibert Pierce, LLC
                                      1544 Old Alabama Road
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